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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO



Criminal Case No.     19-cr-00291-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. MICHAEL JOHN SUPPES,

       Defendant.


                                        INDICTMENT



The Grand Jury charges:

                                         COUNT 1

       On or about September 5, 2018, in the State and District of Colorado, the

defendant, MICHAEL JOHN SUPPES, did knowingly attempt to export and send from

the United States to a place outside the United States, to wit: India, any merchandise,

article, and object, to wit: firearms parts, contrary to any law and regulation of the United

States, to wit: the Arms Export Control Act, Title 22, United States Code, Section 2778,

and the International Traffic in Arms Regulations, Title 22, Code of Federal Regulations,

Parts 120 through 130, and concealed, sold, and in any manner facilitated the

transportation, concealment, and sale of such merchandise, prior to exportation,

knowing the same to be intended for exportation contrary to such law and regulation of

the United States.

       All in violation of Title 18, United States Code, Section 554.

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                                         COUNT 2

       On or about September 29, 2018, in the State and District of Colorado, the

defendant, MICHAEL JOHN SUPPES, did knowingly attempt to export and send from

the United States to a place outside the United States, to wit: Saudi Arabia, any

merchandise, article, and object, to wit: firearms parts, contrary to any law and

regulation of the United States, to wit: the Arms Export Control Act, Title 22, United

States Code, Section 2778, and the International Traffic in Arms Regulations, Title 22,

Code of Federal Regulations, Parts 120 through 130, and concealed, sold, and in any

manner facilitated the transportation, concealment, and sale of such merchandise, prior

to exportation, knowing the same to be intended for exportation contrary to such law

and regulation of the United States.

       All in violation of Title 18, United States Code, Section 554.

                                         COUNT 3

       On or about December 8, 2018, in the State and District of Colorado, the

defendant, MICHAEL JOHN SUPPES, did knowingly attempt to export and send from

the United States to a place outside the United States, to wit: India, any merchandise,

article, and object, to wit: firearms parts, contrary to any law and regulation of the United

States, to wit: the Arms Export Control Act, Title 22, United States Code, Section 2778,

and the International Traffic in Arms Regulations, Title 22, Code of Federal Regulations,

Parts 120 through 130, and concealed, sold, and in any manner facilitated the

transportation, concealment, and sale of such merchandise, prior to exportation,

knowing the same to be intended for exportation contrary to such law and regulation of

the United States.

       All in violation of Title 18, United States Code, Section 554.

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                                         COUNT 4

       On or about December 15, 2018, in the State and District of Colorado, the

defendant, MICHAEL JOHN SUPPES, did knowingly attempt to export and send from

the United States to a place outside the United States, to wit: India, any merchandise,

article, and object, to wit: firearms parts, contrary to any law and regulation of the United

States, to wit: the Arms Export Control Act, Title 22, United States Code, Section 2778,

and the International Traffic in Arms Regulations, Title 22, Code of Federal Regulations,

Parts 120 through 130, and concealed, sold, and in any manner facilitated the

transportation, concealment, and sale of such merchandise, prior to exportation,

knowing the same to be intended for exportation contrary to such law and regulation of

the United States.

       All in violation of Title 18, United States Code, Section 554.

                                         COUNT 5

       On or about December 20, 2018, in the State and District of Colorado, the

defendant, MICHAEL JOHN SUPPES, did knowingly attempt to export and send from

the United States to a place outside the United States, to wit: South Africa, any

merchandise, article, and object, to wit: firearms parts, contrary to any law and

regulation of the United States, to wit: the Arms Export Control Act, Title 22, United

States Code, Section 2778, and the International Traffic in Arms Regulations, Title 22,

Code of Federal Regulations, Parts 120 through 130, and concealed, sold, and in any

manner facilitated the transportation, concealment, and sale of such merchandise, prior

to exportation, knowing the same to be intended for exportation contrary to such law

and regulation of the United States.

       All in violation of Title 18, United States Code, Section 554.

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                                        COUNT 6

       On or about February 14, 2019, in the State and District of Colorado, the

defendant, MICHAEL JOHN SUPPES, did knowingly attempt to export and send from

the United States to a place outside the United States, to wit: Cambodia, any

merchandise, article, and object, to wit: firearms parts, contrary to any law and

regulation of the United States, to wit: the Arms Export Control Act, Title 22, United

States Code, Section 2778, and the International Traffic in Arms Regulations, Title 22,

Code of Federal Regulations, Parts 120 through 130, and concealed, sold, and in any

manner facilitated the transportation, concealment, and sale of such merchandise, prior

to exportation, knowing the same to be intended for exportation contrary to such law

and regulation of the United States.

       All in violation of Title 18, United States Code, Section 554.

                                        COUNT 7

       On or about between April 18, 2019 and May 30, 2019, in the State and District

of Colorado, the defendant, MICHAEL JOHN SUPPES, not being a licensed dealer and

manufacturer of firearms, did willfully engage in the business of manufacturing and

dealing in firearms.

       All in violation of Title 18, United States Code, Sections 922(a)(1)(A) and

924(a)(1)(D).

                                        COUNT 8

       On or about May 30, 2019, in the State and District of Colorado, the defendant,

MICHAEL JOHN SUPPES, knowingly received and possessed firearms, to wit: rifles

having barrels of less than 16 inches in length, not registered to him in the National

Firearms Registration and Transfer Record.

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       All in violation of Title 26, United States Code, Section 5861(d).

                              FORFEITURE ALLEGATION

       The allegations contained in Counts One through Eight of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to the provisions of Title 18, United States Code, Section 981(a)(1)(C), Title

22, United States Code, Section 401, Title 18, United States Code, Section 924(d), Title

26, United States Code, Section 5872, and Title 28, United States Code, Section

2461(c).

       Upon conviction of the violations alleged in Counts One through Six of this

Indictment involving the commission of violations of 18, United States Code, Section

554, defendant MICHAEL JOHN SUPPES shall forfeit to the United States, pursuant to

Title 18, United States Code, Section 981(a)(1)(C), Title 22, United States Code,

Section 401, and Title 28, United States Code, Section 2461(c), any and all of the

defendant‘s right, title and interest in all property constituting and derived from any

proceeds the defendant obtained directly and indirectly as a result of such offense, as

well as any arms, munitions of war, or other articles, intended to be, being, or have

been exported or removed in violation of such offense, and any vessel, vehicle, or

aircraft conveyances which has been or is being used in exporting or attempting to

export such arms, munitions of war, or other articles.

       Upon conviction of the violations alleged in Count Seven of this Indictment

involving violations of 18 U.S.C. ' 922(a)(1)(A), defendant MICHAEL JOHN SUPPES

shall forfeit to the United States pursuant to Title 18, United States Code, Section

924(d) and Title 28, United States Code, Section 2461(c), all firearms and ammunition

involved in the commission of the offense.

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       Upon conviction of the violations alleged in Count Eight of this Indictment

involving violations of 26 U.S.C. ' 5861(d), defendant MICHAEL JOHN SUPPES shall

forfeit to the United States pursuant to Title 26, United States Code, Section 5872 and

Title 28, United States Code, Section 2461(c), all firearms and ammunition involved in

the commission of the offense.

       If any of the property described in paragraphs above, as a result of any act or

omission of the defendant:

              a)     cannot be located upon the exercise of due diligence;

              b)     has been transferred or sold to, or deposited with, a third

                     party;

              c)     has been placed beyond the jurisdiction of the Court;

              d)     has been substantially diminished in value; or

              e)     has been commingled with other property which

                     cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of said defendant up to the value of the forfeitable

property.



                                                  A TRUE BILL:


                                                 Ink signature on file in Clerk’s Office
                                                 FOREPERSON




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